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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION AT LONDON
                               CIVIL ACTION NO. 6:18-277-KKC


    DERIC LOSTUTTER,                                                                             PLAINTIFF,


    v.


    COMMONWEALTH OF KENTUCKY, ET AL.,                                                        DEFENDANTS.

                                               *** *** *** ***

            COMMONWEALTH OF KENTUCKY’S MEMORANDUM OF LAW
                  IN SUPPORT OF ITS MOTION TO DISMISS

         The Defendant, Commonwealth of Kentucky (“Commonwealth”), has moved the Court to

dismiss all claims brought against it by the Plaintiff, Deric Lostutter (“Lostutter”), in his Second

Amended Complaint (DE 12).1 As explained below, Lostutter lacks standing to pursue certain

claims, while all of his claims fail on the merits as a matter of law.

                                            INTRODUCTION

         Lostutter pleaded guilty to two federal felonies in March 2017. He was sentenced to two

years of imprisonment followed by three years of supervised release. He was also ordered to pay

a $5,200 criminal fine and assessment. As a collateral consequence, Lostutter lost the right to vote

in Kentucky. Since its founding in 1792, every version of Kentucky’s constitution has prohibited

a convicted felon from voting without a gubernatorial pardon or restoration of civil rights.




1
  Lostutter filed a Second Amended Complaint without complying with the requirement of Fed. R. Civ. P. 15(a)(2)
that he first secure consent of the opposing parties or the Court’s leave. (See DE 12.) Through this motion, the
Commonwealth provides notice that it consents to Lostutter’s filing of his Second Amended Complaint, and the
Commonwealth’s motion to dismiss is directed to the claims contained within the Second Amended Complaint (and
to the extent required, all other complaints).
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Notably, forty-eight states and the District of Columbia have some form of criminal

disenfranchisement.

         Lostutter brought this action to challenge Kentucky’s prohibition on felon voting and the

procedure through which a felon must go to secure restoration of the right to vote. Lostutter’s

claims rest upon his interpretation of the First Amendment and the Equal Protection Clause of the

Fourteenth Amendment.

         As a threshold jurisdictional matter, Lostutter does not have standing to pursue his

restoration process claims because he has not sought a pardon or restoration of rights from the

Governor.      As to the merits, courts have uniformly rejected challenges to state laws that

disenfranchise felons because the Fourteenth Amendment expressly permits disenfranchisement.

Courts have also upheld state laws related to the restoration of voting rights even when such laws

provide an executive with discretion to determine which felons should have their voting rights

restored. Lostutter’s claims must be dismissed.

                                        FACTUAL BACKGROUND

I.       Kentucky’s laws related to felon voting.

         The Kentucky Constitution prohibits any person from voting who has been “convicted in

any court of competent jurisdiction of treason, or felony, 2 or bribery in an election, or of such high

misdemeanor as the General Assembly may declare.” Ky. Const. § 145. Some form of this

language has appeared in all four of Kentucky’s constitutions.3


2
 In Kentucky, a felony is generally defined as any crime for which the penalty may include a term of imprisonment
of at least one year. See Ky. Rev. Stat. Ann. § 532.020(1); Ky. Rev. Stat. Ann. § 532.060(2).
3
  First Const. of Ky., art. VIII, § 2 (“Laws shall be made to exclude from office and from suffrage, those who shall
thereafter be convicted of bribery, perjury, forgery, or other high crimes or misdemeanors . . . .”); Second Const. of
Ky., art. VI, § 4 (same); Third Const. of Ky., art. VIII, § 4 (same); Fourth Const. of Ky., § 145 (“Persons convicted in
any court of competent jurisdiction of treason, or felony, or bribery in an election, or of such high misdemeanor as the
General Assembly may declare shall operate as an exclusion from the right of suffrage, but persons hereby excluded
may be restored to their civil rights by executive pardon.”).

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       Kentucky is not alone in prohibiting felons from voting. Forty-eight states and the District

of Columbia have some limit on a felon’s right to vote, though the specific limitations vary by

jurisdiction. See Nat’l Conf. of State Legislatures, Felon Voting Rights (Nov. 20, 2018), available

at:    www.ncsl.org/research/elections-and-campaigns/felon-voting-rights.aspx#recent              (last

accessed Nov. 26, 2018).

       Kentucky’s Constitution permits a felon to regain voting privileges through a gubernatorial

pardon or restoration of rights. Ky. Const. § 145. The Kentucky Department of Corrections is

required to inform eligible felony offenders of the process for restoration of civil rights and to take

certain actions to oversee the process. Ky. Rev. Stat. Ann. § 196.045.

II.    Lostutter is a convicted felon.

       In 2017, Lostutter pleaded guilty to violating 18 U.S.C. § 371 (conspiracy to commit

offense or to defraud the United States) and 18 U.S.C. § 1001(a)(2) (making a false statement to

an FBI agent). See United States v. Deric Lostutter, No. 5:16-cr-062-DCR, Judgment, DE 109

(E.D. Ky. Mar. 8, 2017) (attached as Ex. 1). Both crimes are felonies under the United States

Code. See 18 U.S.C. § 371 (establishing a maximum of five years imprisonment for conspiracy);

18 U.S.C. § 1001(1) (establishing a maximum of five years imprisonment for false statement); 18

U.S.C. § 3559 (defining a Class E felony as an offense punishable by “less than five years but

more than one year”). On March 8, 2017, Lostutter was sentenced to twenty-four months on each

count to run concurrently and was ordered to pay a criminal fine and assessment totaling $5,200.

(Ex. 1.) Lostutter was also ordered to serve a three-year period of supervised release on each count

to run concurrently. (Ex. 1.)

       As part of his supervised release, Lostutter was forbidden from possessing a device with

access to the Internet without his parole officer’s permission. (Ex. 1.) Lostutter admitted to



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violating this condition during a revocation hearing on October 12, 2018. See United States v.

Deric Lostutter, No. 5:16-cr-062-DCR, Petition for Warrant or Summons for Offender Under

Supervision, DE 148 (E.D. Ky. Sept. 13, 2018) (attached as Ex. 2); Order, DE 174 (E.D. Ky. Oct.

12, 2018) (attached as Ex. 3). As punishment, the terms of Lostutter’s supervised release were

modified to include weekend confinement for four consecutive weekends at a location designated

by the Bureau of Prisons. (Ex. 3.) The remaining terms and conditions of Lostutter’s supervised

release remained in effect. (Ex. 3.) To date, Lostutter has not satisfied payment of the $5,200 fine

and assessment issued as part of his original judgment, but he is required to make monthly

payments of $50.00. See United States v. Deric Lostutter, No. 5:16-cr-062-DCR, Order, DE 177

(E.D. Ky. Nov. 9, 2018) (attached as Ex. 4).

III.   Lostutter files his complaint.

       Lostutter initiated this action on October 29, 2018, by filing his Complaint and Motion for

Immediate Temporary and Permanent Injunctive Relief. (DE 1.) The original complaint named

only the “Commonwealth of Kentucky” as a defendant. (DE 1.) The original complaint requested

immediate and permanent injunctive relief to enable all “non-violent felony offenders the right to

vote in Kentucky elections” and sought the repeal or modification of Ky. Rev. Stat. Ann.

§ 196.045, a Kentucky statute related to restoration of rights procedures. (DE 1 at 3-4; DE 7 at 1.)

The Court denied Lostutter’s request for immediate injunctive relief, which it treated as a request

for a temporary restraining order, by an Order entered on October 31, 2018. (DE 7 at 2.) In that

same Order, the Court ordered the United States Marshal to serve the Commonwealth with the

complaint. (DE 7 at 3.) The Commonwealth was served with the original complaint on November

8, 2018. (DE 16.)

       Lostutter subsequently filed his Amended Complaint and Motion for Immediate



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Temporary and Permanent Injunctive Relief on November 2, 2018. (DE 10.) The amended

complaint named the Commonwealth of Kentucky and added the Governor, Attorney General, and

Parole Board Director (each in their official capacities) as defendants. 4 (DE 10.) The amended

complaint asserted four constitutional claims. (DE at 13 at 1.) After reviewing the amended

complaint and motion, the Court denied Lostutter’s renewed motion for a temporary restraining

order by an Order entered on November 7, 2018. (DE 13 at 2.) Because the named defendants

were sued only in their official capacities, the Court noted that the claims were directed toward the

“Commonwealth of Kentucky” and ordered the United States Marshal to serve only the

Commonwealth through the Attorney General. (DE 13 at 2.) The Commonwealth was served

with the amended complaint on November 15, 2018. (DE 17 at 2.)

        Lostutter filed his Second Amended Complaint on November 6, 2018. (DE 12.) The

Second Amended Complaint mostly mirrors the amended complaint but adds new paragraphs

directed at Section 145 of the Kentucky Constitution. (See, e.g., DE 12 ¶¶ 24, 56, 61-62, Prayer

for Relief ¶¶ 7-8.) The Commonwealth has not received service of the Second Amended

Complaint, but learned of its existence through PACER.

                                            LEGAL STANDARD

        Issues of standing are properly decided via a Rule 12(b)(1) motion to dismiss for lack of

subject matter jurisdiction.5 See Stalley v. Methodist Healthcare, 517 F.3d 911, 916 (6th Cir.

2008). When deciding a Rule 12(b)(1) motion, all allegations of the complaint must be considered



4
  Lostutter also named the Governor in his official capacity as a member of the Kentucky Parole Board, but such a
designation is incorrect as the Governor is not a member of the board. See Ky. Rev. Stat. Ann. § 439.320(1)
(establishing membership of the board).
5
 The factual statement in this memorandum includes details about Lostutter’s past criminal history. These details do
not appear in any of Lostutter’s complaints. Nonetheless, the Commonwealth’s motion to dismiss is not converted to
one for summary judgment because a court may consider public records, including other court proceedings, at the
motion to dismiss stage. Buck v. Thomas M. Cooley Law School, 597 F.3d 812, 816 (6th Cir. 2010).

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true and construed in the light most favorable to the plaintiff. United States v. Ritchie, 15 F.3d

592, 598 (6th Cir. 1994). The plaintiff does, however, bear the burden of proving jurisdiction.

Nichols v. Muskingum College, 318 F.3d 674, 677 (6th Cir. 2003).

         The Court’s analysis of a Rule 12(b)(6) motion turns on whether the complaint contains

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inferences that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The Court must view the

allegations in the light most favorable to the non-moving party and must accept as true all well-

pleaded facts. Severe Records, LLC v. Rich, 658 F.3d 571, 578 (6th Cir. 2011). The Court need

not, however, “accept as true legal conclusions or unwarranted factual inferences.”                     Morgan v.

Church’s Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987).

         Although pro se litigants are treated to “less stringent standards,” they must still meet basic

pleading standards. Martin v. Overton, 391 F.3d 710, 714 (6th Cir. 2004). And, “‘[l]iberal

construction does not require a court to conjure up allegations on a litigant’s behalf.’” Id. (quoting

Erwin v. Edwards, 22 Fed. App’x 579, 580 (6th Cir. 2001).

                                                 ARGUMENT

         Construed liberally, Lostutter’s four causes of action can be divided into two classes: those

that generally challenge the deprivation of a felon’s right to vote in Kentucky and those that

challenge the process through which a felon must go to have his or her voting rights restored. 6

Lostutter’s process claims must be dismissed because he lacks standing to pursue them and


6
  Lostutter’s Second Amended Complaint does not classify these claims so neatly, and elements of both avenues of
attack are dispersed throughout the complaint’s four counts. For example, the headings given to Counts I and III of
the Second Amended Complaint indicate that Lostutter is attacking the reinstatement process, although attacks against
the process are in each of the four counts.

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because they fail as a matter of law. Lostutter’s deprivation claims must be dismissed due to

binding precedent establishing his failure to state a legally viable claim.

I.     Lostutter lacks standing to bring certain of his claims.

       Under the Constitution, federal courts may decide only cases and controversies. Spokeo,

Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). “Standing to sue is a doctrine rooted in the traditional

understanding of a case or controversy,” and a fundamental premise of the doctrine is to respect

the separation of powers in the federal Constitution. Id. Therefore, the concept of standing “limits

the category of litigants empowered to maintain a lawsuit in federal court.” Id.

       To establish standing, Lostutter must show “an injury in fact, fairly traceable to the

defendant’s conduct, that is likely to be redressed by a favorable decision from the court.” Fair

Elections Ohio v. Husted, 770 F.3d 456, 459 (6th Cir. 2014) (citing Lujan v. Defenders of Wildlife,

504 U.S. 555, 560-61 (1992)). Certain claims in Lostutter’s Second Amended Complaint fail this

basic requirement.

       A.      Lostutter lacks standing to challenge the restoration process in Section 145 of
               the Kentucky Constitution because he has not sought or been denied
               restoration.

       Lostutter’s claims regarding the restoration of voting rights process in Section 145 of the

Kentucky Constitution can be boiled down to two allegations. First, Lostutter claims that the

process is unconstitutional because it places discretion with the governor; in other words, there are

not, in his view, definite standards by which requests for restoration of rights must be judged.

Second, Lostutter claims that the restoration process is unconstitutional because there are no

applicable timing requirements for the consideration of an application. Lostutter lacks standing to

pursue either claim.




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                1.      The restoration of rights process under the Kentucky Constitution.

        Section 145 of the Kentucky Constitution provides that any felon excluded from the right

to vote “may be restored to their civil rights by executive pardon.” Kentucky’s high court has

interpreted Section 145 to mean that a governor may restore a felon’s right to vote and hold office.

See Arnett v. Stumbo, 153 S.W.2d 889, 890-91 (Ky. 1941); see also Cheatham v. Commonwealth,

131 S.W.3d 349, 351 (Ky. App. 2004) (discussing Arnett and noting that a “pardon” under Section

145 is limited to restoring the right to vote and hold office). The governor’s power under Section

145 extends to individuals who are convicted of a felony under federal law. Arnett, 153 S.W.2d

at 891. And, the Kentucky Constitution does not place any time constraints on the governor’s

power to restore voting rights. Cf. Fletcher v. Graham, 192 S.W.3d 350, 359 (Ky. 2006) (holding

that the lack of a temporal restriction in § 77 of the Kentucky Constitution means that a governor

may issue a pardon at any time, even pre-indictment). Because Section 145 is a self-executing

provision, no other statute or law is necessary for its operation. Arnett, 153 S.W.2d at 890.

                2.      Lostutter has failed to avail himself of the process under Section 145.

        Lostutter did not plead that he has applied for and been denied a restoration of rights

pursuant to Section 145 of the Kentucky Constitution. (See generally DE 12.) This failure is fatal.

A federal court plaintiff is required to allege sufficient facts in a complaint to establish standing to

pursue his or her claims. See Spokeo, 136 S. Ct. at 1547 (“Where, as here, a case is at the pleading

stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each element [of standing].”

(quoting Warth v. Seldin, 422 U.S. 490, 498-99 (1975))). Lostutter’s lack of pleading sufficient

facts means that he cannot pursue his claims that the restoration of rights process is

unconstitutional because he has not invoked the Court’s subject matter jurisdiction by

demonstrating his standing.



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        In a similar case, a plaintiff brought suit in federal court in Virginia on claims that

Virginia’s process to restore a felon’s right to vote was unconstitutional because it “gives the

Governor of Virginia unfettered authority to decide which applications to approve or deny” and

was “capricious and arbitrary.” El-Amin v. McDonnell, No. 3:12-cv-538, 2013 WL 1193357, at

*1 (E.D. Va. Mar. 22, 2013). The court dismissed these claims, holding that because the plaintiff

had “not applied for restoration of his voting rights, he has suffered no denial, or other injury, that

would allow him to challenge the reinstatement process.” Id. at *5 (emphasis in original).

Lostutter brings similar claims here, yet he has failed to seek a restoration of his rights. Therefore,

Lostutter’s process claims must be dismissed for lack of standing.

        Although the Court may dismiss Lostutter’s claims based on Fed. R. Civ. P. 12(b)(1) due

to his failure to plead sufficient facts to establish his standing, the Court may alternatively consider

the two declarations attached to this memorandum. (See Decl. of Selina Bowman, attached as Ex.

5; Decl. of John Hall, attached as Ex. 6.) The declarations, one from an employee of the Office of

the Governor and one from an employee of the Department of Corrections’ Division of Probation

and Parole, establish that Lostutter has not applied for a restoration of civil rights. (Ex. 5 at ¶ 5;

Ex. 6 at ¶ 7.) Again, because he has not sought restoration, Lostutter has not suffered an injury in

fact, see El-Amin, 2013 WL 1193357, at *5, which is the “‘[f]irst and foremost’ of standing’s three

elements,” Spokeo, 136 S. Ct. at 1547 (quoting Steel Co. v. Citizens for Better Envt., 523 U.S. 83,

103 (1998)).

        B.      Lostutter lacks standing to challenge Ky. Rev. Stat. Ann. § 196.045.

        Lostutter also challenges the constitutional validity of Ky. Rev. Stat. Ann. § 196.045,

although the grounds upon which he bases this challenge are unclear. Ky. Rev. Stat. Ann. §

196.045 does not deprive any person of any right; rather, Section 145 of the Kentucky Constitution



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deprives felons of the right to vote. Regardless, Lostutter lacks standing to challenge Ky. Rev.

Stat. Ann. § 196.045 because the statute does not apply to him. Therefore, he has not suffered the

type of injury in fact required to confer standing.

        As previously mentioned, Section 145 of the Kentucky Constitution is self-executing.

Nonetheless, the General Assembly passed Ky. Rev. Stat. Ann. § 196.045 in 2001 to establish a

process for eligible felony offenders to gain information about restoration of voting rights and to

establish certain procedures for the Commonwealth to take once an application for restoration is

received. The Kentucky Department of Corrections oversees the process and has promulgated an

administrative regulation, policy, and application that implements Ky. Rev. Stat. Ann. § 196.045.

See 501 KAR 6:270, Section 1 (incorporating Policy Number 27-26-01, Assistance to Former

Offenders and Dischargees).7

        Ky. Rev. Stat. Ann. § 196.045 defines “eligible felony offender” as follows:

        (2) As used in this section, “eligible felony offender” means a person convicted of
        one (1) or more felonies who:
                (a) Has reached the maximum expiration of his or her sentence or has
                received final discharge from the Parole Board;
                (b) Does not have any pending warrants, charges, or indictments; and
                (c) Has paid full restitution as ordered by the court or the Parole Board.

Lostutter has not “reached the maximum expiration of his . . . sentence.” Lostutter is currently

serving a period of supervised release and is yet to pay the full amount of his criminal fine and

assessment. (See Ex. 1, 3, 4.) Therefore, to the extent Ky. Rev. Stat. Ann. § 196.045 can even

serve as an adequate basis for a § 1983 claim, Lostutter has not yet been impacted by it. Moreover,

as discussed above, Lostutter failed to plead that he has applied for a restoration of voting rights,

and, in fact, he has not so applied. (Ex. 5 at ¶ 5; Ex. 6 at ¶ 7.) For this reason as well, Lostutter



7
 A copy of Policy Number 27-26-01, including the application, is attached as Ex. A to the Declaration of Johnathan
Hall, which itself is Ex. 6.

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lacks standing to challenge Ky. Rev. Stat. Ann. § 196.045 because it has not injured him in any

way.

           C.       Lostutter lacks standing to challenge Section 145 on any ground that the law
                    was allegedly enacted with discriminatory intent because he is not a racial
                    minority.

           Count One of Lostutter’s Second Amended Complaint makes a vague, unsupported, and

conclusory statement that “Kentucky Revised Statute § 196.045 is racially discriminatory.” (DE

12, ¶ 52.) This legal assertion is insufficient to serve as the basis for a racial-discrimination claim.

See Iqbal, 556 U.S. at 678 (“Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid

of ‘further factual enhancement.’” (citation omitted)). In any event, Ky. Rev. Stat. Ann. § 196.045

does not interfere with Lostutter’s rights under the U.S. Constitution in any way. Therefore, it is

not a proper basis for a § 1983 claim. Even assuming that Lostutter pleaded sufficient facts to

state a cognizable claim, he lacks standing to pursue such a claim because he is not a racial

minority. According to the inmate locator on the Federal Bureau of Prisons website, 8 Lostutter is

a thirty-one-year old white male. Nothing in his complaint alleges that Kentucky’s laws relating

to felon disenfranchisement discriminate against white individuals, so Lostutter lacks standing to

pursue any claim based on purported racial discrimination. See Wesley v. Collins, 791 F.2d 1255,

1258 (6th Cir. 1986) (holding that a public interest organization did not have standing on the theory

that “an injury to the voting rights of blacks results in an injury to the voting rights of all citizens

of Tennessee”).9

II.        Lostutter fails to state a claim upon which relief can be granted.



8
    Available at: https://www.bop.gov/inmateloc/ (last accessed Nov. 27, 2018).
9
 Lostutter’s complaint requests that the Court certify a class, presumably with him as a representative. For these same
reasons, Lostutter cannot legally serve as a class representative for any claim based upon purported racial
discrimination. See Richardson v. Ramirez, 418 U.S. 24, 39 (1974) (“We have held that in the federal system one
may not represent a class of which he is not a part . . . .”).

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       A.      The Supreme Court and Sixth Circuit have held that the Equal Protection
               Clause of the Fourteenth Amendment permits felon disenfranchisement.

       Lostutter’s claim that Kentucky may not disenfranchise felons under the Equal Protection

Clause has been squarely rejected by the United States Supreme Court, the Sixth Circuit, and

numerous other courts. In fact, the case law is so clear that Lostutter’s equal protection claim

deserves summary dismissal.

       In Richardson v. Ramirez, 418 U.S. 24 (1974), the Supreme Court was squarely presented

with the question of whether a state may disenfranchise felons. The Court’s opinion traced the

history of the Fourteenth Amendment and ultimately concluded that the Amendment’s explicit

language permits a state to disenfranchise felons: “As we have seen, however, the exclusion of

felons from the vote has an affirmative sanction in § 2 of the Fourteenth Amendment.” Id. at 54.

The Court noted that changing the law to permit a felon to retain or to regain the franchise was the

exclusive prerogative of state legislators and the citizens they serve. Id. at 55. And, the Court

specifically held that a state may, “consistent with the Equal Protection Clause of the Fourteenth

Amendment, exclude from the franchise convicted felons who have completed their sentences and

paroles.” Id. at 56.

       When confronted with a similar argument, the Sixth Circuit correctly followed Ramirez

without equivocation:

       It is undisputed that a state may constitutionally disenfranchise convicted felons,
       and that the right of felons to vote is not fundamental. Thus, courts have
       consistently recognized that states may, pursuant to section 2 of the Fourteenth
       Amendment, disenfranchise persons convicted of “participation in rebellion, or
       other crimes.”

Wesley, 791 F.2d at 1258 (internal citations omitted); see also Johnson v. Bredesen, 624 F.3d 742,

746 (6th Cir. 2010).




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         As case law clearly establishes, there is no per se violation of the Equal Protection Clause

through the disenfranchisement of felons. See Johnson v. Governor of State of Florida, 405 F.3d

1214, (11th Cir. 2005) (“A state’s decision to permanently disenfranchise convicted felons does

not, in itself, constitute an Equal Protection violation.”). Therefore, the only potential avenue upon

which Lostutter may base an equal protection challenge is to prove that Section 145 of the

Kentucky Constitution was adopted with a “racially discriminatory intent or purpose” and that the

law would not have been adopted without the discriminatory intent or purpose. Wesley, 791 F.2d

at 1262; Johnson v. Governor of State of Florida, 405 F.3d at 1222-23.

         Lostutter wholly fails to plead discriminatory intent or purpose behind the enactment of

Section 145.10 “To state a valid claim, a complaint must contain either direct or inferential

allegations respecting all the material elements to sustain recovery under some viable legal

theory.” League of United Latin Am. Citizens v. Bredesen, 500 F.3d 523, 527 (6th Cir. 2007)

(citing Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)) (emphasis added). “Where a complaint

does not state facts sufficient to state a claim, the claims must be dismissed.” Red Hed Oil, Inc. v.

H.T. Hackney Co., 292 F. Supp. 3d 764, 772 (E.D. Ky. 2017).

         The only conceivable allegation in Lostutter’s Second Amended Complaint that Section

145 has a discriminatory impact (which is only a factor in determining discriminatory intent) is his

averment that “Kentucky’s felony disenfranchisement prevents one in every four African-

Americans from voting in Kentucky elections.” (DE 12 ¶ 29.) Even assuming the truth of this

statement, which is made in a vacuum, it cannot establish discriminatory intent for purposes of an

equal protection challenge because discriminatory intent and its effect are measured at the time the

challenged law was enacted. Johnson v. Governor of State of Florida, 405 F.3d at 1222 n.17 (“The


10
  As discussed in Section I.C., supra, Lostutter is not a proper plaintiff to pursue an Equal Protection Clause challenge
to Section 145 of the Kentucky Constitution along racial minority lines because he is not a racial minority.

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plaintiffs focus on the present racially disparate impact of the felon disenfranchisement provision,

but this amount of disparate impact was not present in 1968 when the provision was enacted.”

(emphasis in original)).     Lostutter’s Second Amended Complaint contains no allegations

whatsoever that Section 145 of the Kentucky Constitution was adopted with discriminatory intent.

       Finally, to the extent that Lostutter argues that the Equal Protection Clause (or any other

provision of the U.S. Constitution) requires Kentucky to restore a “non-violent felony offender’s

voting rights,” (DE 12 ¶¶ 56, 62, Prayer for Relief ¶¶ 9, 12, 13), such arguments are incorrect as a

matter of law. See, e.g., Shepherd v. Trevino, 575 F.2d 1110, 1115 (5th Cir. 1978) (holding that

states have a legitimate interest in barring a felon from voting due to their manifestation of a

“fundamental antipathy to the criminal laws of the state or of the nation by violation those laws

sufficiently important to be classified as felonies”).

       In short, Lostutter’s general claim that Kentucky may not exclude felons from voting

pursuant to the Equal Protection Clause has been soundly rejected, regardless of the type of felony

committed or whether the felon has served his or her complete sentence. Moreover, Lostutter has

failed to plead facts that would require the Court to engage in any analysis beyond a surface level

review of whether Section 145 violates the Equal Protection Clause. The Commonwealth is

entitled to judgment on Lostutter’s equal protection claims.



       B.      The First Amendment does not provide any basis for asserting a constitutional
               challenge in this context.

       Lostutter next challenges Section 145 on First Amendment grounds. Specifically, Lostutter

claims that Kentucky’s prohibition on felon voting is an unconstitutional prior restraint or an

unconstitutional time, place, and manner restriction. (DE 12 ¶ 17.) Regardless of how he couches

his claims under the First Amendment, they are wholly without merit.


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         Courts have consistently held that the “First Amendment creates no private right of action

for seeking reinstatement of previously cancelled voting rights.” Howard v. Gilmore, 205 F.3d

1333 (4th Cir. 2000) (unpublished table decision); Thompson v. Alabama, 293 F. Supp. 3d 1313,

(M.D. Ala. 2017) (“[C]ourts confronted with First Amendment challenges to felon-

disenfranchisement laws consistently have rejected such claims.”); Johnson v. Bush, 214 F. Supp.

2d 1333, 1338 (S.D. Fla. 2002) (holding “that the First Amendment does not guarantee felons the

right to vote”).11 These courts often note the paradox that would exist if the same Constitution that

permits felon disenfranchisement under § 2 of the Fourteenth Amendment would prohibit felon

disenfranchisement elsewhere, namely the First Amendment. See, e.g., Thompson, 293 F. Supp.

3d at 1327 n.7 (citing Farrakhan v. Locke, 987 F. Supp. 1304, 1314 (E.D. Wash. 1997)).

         Pursuant to clear authority, the Court should summarily dismiss Lostutter’s First

Amendment claims as they purport to exist in Counts I, III, and IV of his Second Amended

Complaint.




         C.      Kentucky’s process to restore a felon’s right to vote passes constitutional
                 muster.

         Finally, Lostutter claims that Kentucky’s process for restoring a felon’s right to vote is

unconstitutional. Lostutter’s claims are couched in terms of the First Amendment and Fourteenth

Amendment and are scattered throughout the four counts of his Second Amended Complaint.

Essentially, Lostutter claims that Kentucky’s restoration of civil rights process is unconstitutional


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  Johnson v. Bush has a lengthy appellate history, but the district court’s holding on the First Amendment issue was
never impacted. The district court’s decision was affirmed in part, reversed in part on other grounds and remanded
by 353 F.3d 1287 (11th Cir. 2003), after which rehearing en banc was granted and the opinion vacated by 377 F.3d
1163 (11th Cir. 2004) (en banc). On rehearing en banc, the district court’s decision was affirmed on other grounds by
405 F.3d 1214 (11th Cir. 2005) (en banc). The Supreme Court denied certiorari. 546 U.S. 1015 (2005).

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because, in his view, it provides the Governor with discretion (as opposed to concrete standards)

when deciding whether to restore civil rights and because the process lacks time constraints. (See,

e.g., DE 12 ¶¶ 36, 66, 70, 79, 87, 92.) Lostutter’s arguments mirror those made by disenfranchised

felons in Hand v. Scott, 285 F. Supp. 3d 1289 (N.D. Fla. 2018), a case decided in Lostutter’s favor.

The problem for Lostutter, however, is that the district court decision upon which he bases his

claims was stayed by a panel of the Eleventh Circuit after it held that the state was likely to prevail

on the merits on appeal. See Hand v. Scott, 888 F.3d 1206 (11th Cir. 2018). As explained by the

Eleventh Circuit, Lostutter’s claims fail as a matter of law.

               1.      Lostutter’s process claims fail under the Equal Protection Clause.

       Like Lostutter, the plaintiffs in Hand claimed that the state’s “‘standardless’ voter

reenfranchisement regime facially violates the Equal Protection Clause of the Fourteenth

Amendment.” Hand, 888 F.3d at 1208. And also like Lostutter, the plaintiffs in Hand did not

claim that the state actually discriminated against them on the basis of race or other invidious

ground, but focused the “heart of their claim” on the premise that “unbounded discretion will yield

an unacceptable ‘risk’ of unlawful discrimination.” Id. The Eleventh Circuit rejected the notion

that risk—as opposed to application—could form the basis of a legitimate equal protection claim.

Id. at 1210 (holding that a risk of discrimination is likely insufficient for a successful equal

protection challenge). Lostutter’s process claims are rife with allegations of risk (see, e.g., DE 12

¶¶ 40, 84), but lack any alleged concrete harm to Lostutter or others.

       The Supreme Court has approved of state schemes that provide an executive branch

authority with discretion to restore civil rights, including the right to vote. See Beacham v.




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Braterman, 300 F. Supp. 182 (S.D. Fla. 1969), aff’d 396 U.S. 12 (1969).12 In Beacham, a three-

judge district court panel disposed of the exact question here:

        The succeeding question is whether it is a denial of equal protection of law and due
        process of law for the Governor of Florida, with the approval of three members of
        the Cabinet, to restore discretionarily the right to vote to some felons and not to
        others. We hold that it is not. The restoration of civil rights is part of the pardon
        power and as such is an act of executive clemency not subject to judicial control.

Beachman, 300 F. Supp. at 184. Subsequent Supreme Court decisions have likewise recognized

the constitutionally permissible nature of a Governor’s discretionary pardon power. See Hand,

888 F.3d at 1209 (discussing Conn. Bd. of Pardons v. Dumschat, 452 U.S. 458 (1981), and Ohio

Adult Parole Auth. v. Woodard, 523 U.S. 272 (1988)). In Dumschat, “the Supreme Court held that

a state was entitled to vest the Board of Pardons with ‘unfettered discretion’ to grant pardons based

on ‘purely subjective evaluations . . . by those entrusted with the decision,’ leaving inmates with

only a ‘unilateral hope’ for pardon.” Hand, 888 F.3d at 1209 (quoting Dumschat, 452 U.S. at 464-

66). In Woodard, “the Supreme Court reaffirmed that, because clemency decisions are ‘matter[s]

of grace’ by which the executive may consider ‘a wide range of factors not comprehended by

earlier judicial proceedings and sentencing determinations,’ the state could allocate pardons in a

purely discretionary manner without procedural safeguards under the Due Process Clause.” Hand,

888 F.3d at 1209 (quoting Woodard, 523 U.S. at 281).

        These precedents make clear that Section 145 may vest the Governor with full discretion

to restore (or not) the civil rights of felons so long as the system does not have the “purpose and

effect of invidious discrimination.” Hand, 888 F.3d at 1209. Just like in Hand, the problem for

Lostutter “is that [he has] not shown (nor [has he] even claimed) that [Kentucky’s] constitutional

and statutory scheme had as its purpose the intent to discriminate on account of, say, race, national


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   The Supreme Court’s decision in Beacham was to summarily affirm the district court’s decision. Summary
dispositions are binding precedent. Mandel v. Bradley, 432 U.S. 173, 176 (1977).

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origin or some other insular classification . . . . All we have is the assertion . . . that there is a real

‘risk’ of disparate treatment and discrimination.” Id. at 1210 (brackets and ellipsis added). This

alleged risk is insufficient to state a claim.

                2.      Lostutter’s process claims fail under the First Amendment.

        In Hand, the Eleventh Circuit also rejected First Amendment claims that mirror those

brought by Lostutter. Although block quotations are generally disfavored, the Commonwealth

includes the following because they demonstrate the thoroughness with which the Eleventh Circuit

dispensed of the same claims presented by Lostutter.

        The appellees allege that Florida’s felon-reenfranchisement regime facially violates
        the First Amendment because it vests the Executive Clemency Board with
        “unfettered discretion” to engage in a “standard-less process of arbitrary and
        discriminatory decision-making, which is untethered to any laws, rules, standards,
        criteria, or constraints of any kind, and unconstrained by any definite time limits,”
        thereby abridging their right to vote and creating an impermissible risk of
        “arbitrary, biased, and/or discriminatory treatment.” The appellees expressly
        disclaim reliance on any anecdotal examples of discrimination and offer nothing
        suggesting that any of them were the victims of viewpoint discrimination, asserting
        that “[f]acial attacks on the discretion granted a decisionmaker are not dependent
        on the facts surrounding any particular permit decision,” since “[t]he success of a
        facial challenge on the grounds that an ordinance delegates overly broad discretion
        to the decisionmaker rests not on whether the administrator has exercised his
        discretion in a content-based manner, but whether there is anything in the ordinance
        preventing him from doing so.” The appellees, therefore, suggest that “actual
        discrimination need not be proven.”

Hand, 888 F.3d at 1210-11 (emphasis and alterations in original). In rejecting these claims, the

Eleventh Circuit wrote:

        Their theory likely fails for at least three reasons. First, our case law establishes that
        the First Amendment affords no greater voting-rights protection beyond that
        already ensured by the Fourteenth Amendment. Because a standardless pardon
        process, without something more, does not violate the Fourteenth Amendment, it
        follows that it does not run afoul of the First Amendment. In the second place,
        Florida’s power to disenfranchise voters is expressly sanctioned by § 2 of the
        Fourteenth Amendment. And finally, no First Amendment challenge to a felon-
        disenfranchisement scheme has ever been successful.



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Hand, 888 F.3d at 1211. Lostutter did not reinvent the wheel when bringing his claims, and there

is no reason for the Court to do so in rejecting them. The First Amendment does not provide a

sufficient legal basis for Lostutter’s claims.

        D.       Director Tolley must be dismissed because Lostutter’s Second Amended
                 Complaint does not direct any allegations toward her.

        Kentucky Parole Board Director Angela Tolley is mentioned only in the caption and

paragraph 14 of the Second Amended Complaint. As the text of Section 145 of the Kentucky

Constitution and Ky. Rev. Stat. Ann. § 196.045 establish, Director Tolley has no responsibility

with respect to the disenfranchisement of felons or the potential restoration of a felon’s voting

rights. Because Director Tolley has no responsibility with respect to the laws at issue, and because

there are no averments made against her in the Second Amended Complaint, she must be dismissed

for failure to state a claim.13

                                               CONCLUSION

        Lostutter lacks standing to pursue his claims related to restoration of a felon’s voting rights

because he has not sought or been denied a pardon or restoration of rights. As to the merits, courts

have uniformly rejected the very claims set forth by Lostutter. Therefore, Lostutter’s Second

Amended Complaint should be dismissed.




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  The Kentucky Department of Corrections contains an organizational unit known as the “Division of Probation and
Parole.” See Ky. Rev. Stat. Ann. § 196.026(3)(a). The “Application for Restoration of Civil Rights” was created by
the Division of Probation and Parole, and a completed application may be mailed back to the division. The Kentucky
Parole Board is an entirely separate organizational unit of state government that is created by Ky. Rev. Stat. Ann.
§ 439.320. The board is not responsible for the application. Regardless, neither the department, division, nor board
are necessary parties to this action.

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                                            Respectfully submitted,


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